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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

CRISTIE BUZA; JENNY KEY; LAURA ) Civil Action No. 1:12-cv-00068
MARCONI; JOHN DZIADYK; DONALD )
MIKEC; AND CRAIG JOHNSTON, )
on behalf of themselves and all others HIRANO AFFIDAVIT FOR
similarly situated, ) ADMISSION PRO HAC VICE
Plaintiffs, )
)
Vv. )
KRAFT FOODS GLOBAL, INC.,
Defendant.
)
AFFIDAVIT FOR ADMISSION
PRO HAC VICE OF ASHLEY T. HIRANO

I, Ashley T. Hirano, Esquire, do hereby petition this Court to permit me to appear and

participate in this case as counsel for Defendant, Kraft Foods Group, Inc.', and in support of this

Motion state:
My Firm Name is: Sheppard, Mullin, Richter & Hampton, LLP
My Office Address is: 501 West Broadway

19" Floor
San Diego, California 92101-3598

My Telephone Number is: 619-338-6547

I am admitted to practice before the following courts:

State Supreme Courts: California
US. District Courts: Southern District of California
Central District of California

1 Effective March 16, 2012, "Kraft Foods Global, Inc." is now known as "Kraft Foods Group, Inc."
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U.S. Courts of Appeal: Ninth Circuit
I am in good standing and eligible to practice in said courts.
I am not disbarred or under suspension in any court.
I am a registered user of ECF in this Court.
I have paid the fee in the amount of Forty Dollars ($40.00) through the ECF system
required to process the Motion for Admission Pro Hac Vice.
I have read, and I know and understand the Local Rules of this Court.

I declare under penalty of perjury that the foregoing is true and correct.

May 8, 2012 YATE
ASHLEY T. HIRANO, ESQ.

